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                            Exhibit 2
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                              HOUSE OF REPRESENTATIVES
                              NOTICE OF PUBLIC HEARING


COMMITTEE:      Human Services
TIME & DATE:    12:00 PM, Monday, March 21, 2022
PLACE:          E2.030
CHAIR:          Rep. James B. Frank

The Committee will meet in a public hearing and hear invited testimony to
consider the following:

          The committee will consider Department of Family and Protective
           Services, Department of Public Safety, and Health and Human
           Services Commission actions related to security and safety of
           Texas youth in state-licensed facilities, the efficacy of
           investigative and regulatory processes, and what further action
           can be taken to ensure child safety.
          The committee will receive an update on the ongoing lawsuit and
           its impact on foster care capacity and other impacts on the child
           welfare system.
          The committee will review implementation of child welfare
           legislation passed by the 87th Legislature.

Electronic public comment will be available for:

Security and safety of Texas youth in state-licensed facilities

Efficacy of investigative and regulatory processes

Impact of the lawsuit on foster care capacity and the child welfare system

Implementation of child welfare legislation


For those persons who will be testifying, information for in-person
witness registration can be found here:
https://mytxlegis.capitol.texas.gov/HWRSPublic/About.aspx

A live video broadcast of this hearing will be available here:
https://house.texas.gov/video-audio/

Instructions related to public access to the meeting location and health
and safety protocols for attending this meeting are available here:
https://house.texas.gov/committees/public-access-house-committee-meetings/

Texas residents who wish to electronically submit comments related to
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       Case 2:11-cv-00084
agenda items              Document
              on this notice       1220-2
                              without     Filed on 03/29/22
                                        testifying          in TXSDcanPage
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the hearing is adjourned by visiting:
https://comments.house.texas.gov/home?c=c310




NOTICE OF ASSISTANCE AT PUBLIC MEETINGS
Persons with disabilities who plan to attend this meeting and who may need
assistance, such as a sign language interpreter, are requested to contact
Stacey Nicchio at (512) 463-0850, 24 hours prior to the meeting so that
appropriate arrangements can be made.




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